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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

NETLIST, INC.,

                    Plaintiff,
                                           Civil Action No. 1:22-cv-00134-LY
v.
                                           JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS LLC,

                    Defendants.


NETLIST, INC.,

                    Plaintiff,             Civil Action No. 1:22-cv-00136-LY
v.                                          JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS LLC,

                    Defendants.


      PLAINTIFF NETLIST, INC.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
     REGARDING U.S. PATENT NOS. 8,301,833; 9,824,035; 10,268,608; AND 10,489,314
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Exhibit                                       Description
  A.        Curriculum Vitae of Steven Przybylski, Ph.D.
  B.        JEDEC Standai·d - JESD79-2A
  C.        JEDEC Standai·d - JESD79-2B
  D.        Synchronous DRAM Architectures, Organizations, and Alternative
            Technologies, by Prof. Brnce L. Jacob, December 10, 2002
  E.        Wiley Electrical and Electrnnics Engineering Dictionaiy (2004)
  F.        U.S. Patent No. 9,081,718 to Reche




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       PlaintiffNetlist, Inc. (''Netlist") hereby submits its Responsive Claim Construction Brief

for United States Patent Nos. 8,301,833 ("'833 Patent"); 9,824,035 ("'035 Patent"); 10,268,608

( "' 608 Patent"); and 10,489,314 ('"314 Patent") (collectively, the "Asserted Patents").

I.     THE COURT SHOULD ADOPT NETLIST'S CONSTRUCTIONS

       Netlist proposes constructions that adhere to the well-known principles of claim

construction, are based on the plain and ordinaiy meaning of the claim terms, and ai·e founded on

the teachings of the inti-insic evidence. Micron, on the other hand, proposes constr11ctions with an

eye toward manufacturing validity defenses and impennissibly limiting claim scope. For

example, Micron repeatedly proposes that claim tenns lacking the te1m "means" be constmed as

means-plus-function limitations, flat-out ignoring inti-insic structural disclosures. Micron also

seeks to naITow tenns without demonstr·a ting a cleai· disavowal of claim scope. As such, Netlist

respectfully requests the Court adopt its proposed constr11ctions and reject Micron's proposals.

II.    CLAIM CONSTRUCTION REGARDING THE '833 PATENT

       Volatile memories (e.g., DRAM) lose data when power is removed. Non-volatile

memories (e.g., flash memo1y) retain their data when power is removed. The '833 Patent teaches

a memo1y system where data can be t:I'ansfe1Ted between a volatile memory subsystem and non­

volatile memo1y subsystem. '833 Patent at 3:64-67; 17:49-67. Such tr·ansfers allow data in the

faster volatile memo1y to be backed up to the slower, but persistent, non-volatile memo1y, and

then restored from the non-volatile memo1y to the volatile memo1y. Id. at 10:33-37.

       A.      "volatile memory subsystem"; "non-volatile memory subsystem"
               (Claim 15)

      Plaintiffs Proposed Construction                   Defendants' Proposed Construction
 Plain and ordinaiy meaning, as would be              "volatile memo1y subsystem" means "one or
 understood by one of ordinaiy skill in the aii       more volatile memo1y devices."
 in the context of the entire disclosure.             "non-volatile memo1y subsystem" means
                                                      "one or more non-volatile memo1y devices."



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       The dispute here concerns the word “subsystem.” A POSITA would understand the plain

and ordinary meaning of a memory “subsystem” is part of a larger system. Declaration of Steven

Przybylski (“Przybylski Decl.”), ¶ 32. That concept would be readily understood by a lay person

and needs no construction. Phillips v. AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005) (“[T]he

ordinary meaning of claim language as understood by a person of skill in the art may be readily

apparent even to lay judges…”). Despite the recognized plain and ordinary meaning of

“subsystem,” Micron seeks to replace “subsystem” with “devices”—eliminating the inherent

systemic descriptor found in “subsystem” and narrowing the subsystem to only “devices.” That

is improper. Ecolab, Inc. v. FMC Corp., 569 F.3d 1335, 1344 (Fed. Cir. 2009) (claims must not

be redrafted).

       A POSITA would understand that a memory subsystem can be broader than a memory

device and include other components or elements such as registers, data interconnects and/or

control elements. Przybylski Decl., ¶ 33. This is consistent with the specification’s teachings.

See, e.g., ’833 Patent at 7:8-11 (“the volatile memory subsystem 30 can comprise a registered

DIMM subsystem comprising one or more registers”); 18:14-29 (“data lines,” “chip select lines,”

and “self-refresh lines” part of a volatile memory subsystem); 18:33-44 (disclosing “volatile

memory subsystem data bus”). Micron impermissibly narrows claim scope without identifying

any clear disavowals in the specification. Micron’s proposed constructions must be rejected.

Continental Circuits LLC v. Intel Corp., 915 F.3d 788, 797 (Fed. Cir. 2019) (“[T]he specification

must contain expressions of manifest exclusion or restriction, representing a clear disavowal of

claim scope.”) (quotations omitted).

       Micron further argues that the claims must be rewritten (1) to “stay true to the claim

language,” and (2) because “[t]he ’833 Patent consistently describes the volatile/non-volatile



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memory subsystem as a series of memory elements and refers to other components on the

memory system as something different.” Dkt. 41 (“Brief”) at 4. The best way to stay true to the

claim language is to not rewrite it. Micron relies on select aspects of Figure 1 to support its

narrowing proposals, but even Figure 1 depicts memory devices and interconnects (e.g., data

buses) as part of the memory subsystems. See Przybylski Decl., ¶ 33. Figure 1 also represents a

single, non-limiting embodiment. See Continental Circuits, 915 F.3d at 797 (claim scope cannot

be limited based on specification’s non-limiting embodiments). Micron’s reliance on Figure 1 to

limit claim scope is therefore misplaced.

       Micron also argues that the prosecution history supports its proposals. Not so. Netlist’s

annotated reproductions of Figure 1 in prior IPR proceedings fall far short of clear or

unmistakable disavowal of claim scope. In fact, after referencing annotated Figure 1, Netlist

proposed that the plain and ordinary meaning of a “memory subsystem” would be a “part of a

larger memory system,” and expressly rejected Petitioner’s construction that “would narrow the

subsystem to include ‘two or more memory components’ and nothing else.” Dkt. 41-18 (Ex. 16

to Stone Decl.) at 12, 17-19. Notably, Micron’s proposed construction is essentially the same as

Petitioner’s narrow construction of “memory subsystems” rejected by the PTAB. Dkt. 41-19 (Ex.

17 to Stone Decl.) at 5. Moreover, Netlist distinguished prior art memory subsystems on

technical grounds, and not on a narrow construction of “subsystems” excluding all other

elements. See, e.g., id. at 52-58; Dkt. 41-16 (Ex. 14 to Stone Decl.) at 21 (distinguishing prior art

while arguing “FLASH controller section 30 is (correctly) recognized as being part of a non-

volatile memory subsystem”) (emphasis added). Thus, the PTAB’s IPR decisions were not based




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on Netlist's alleged representations limiting claim scope. 1

          Micron also points to Netlist's statements in an IPR preliminaiy response that the volatile

and non-volatile memo1y subsystems "may comprise one or more" memo1y elements. Brief at 5.

But these statements ai·e not a clear or unmistakable disavowal of claim scope, and the open­

ended tenn "comprise" indicates subsystems are not limited to just "memo1y devices." See, e.g.,

Visual Intel. LP v. Optech, Inc., No. H-13-2612, 2015 WL 851970, at *5 (S.D. Tex. Feb. 26,

2015) (statement that imaging sensors "may comprise" passive sensors was not disavowal of

active sensors). The Court should give the "subsystem" te1ms their plain and ordinaiy meaning.

          B.      "controller configured to decouple the non-volatile memory subsystem
                  from the volatile memory subsystem in the first mode of operation and
                  to couple the non-volatile memory subsystem to the volatile memory
                  subsystem in the second mode of operation" (Claim 16)

         Plaintiffs Proposed Construction                    Defendants' Proposed Construction
    Plain and ordinaiy meaning, as would be              This is a means-plus-function limitation.
    understood by one of ordinaiy skill in the aii       Function: entire limitation after "configured
    in the context of the entire disclosure.             to."
    Not subject to§ 112, ,i 6.                           Conesponding Stmcture: "controller that is
                                                         separate from the volatile and non-volatile
                                                         memo1y subsystems," as described in the
                                                         '833 Patent, 6:63-7:40.

          Claim 16 recites "controller" without the word "means." The claim language conveys

sufficient stmcture to preclude application of§ 112, ,i 6. Williamson, 792 F.3d at 1348.

          The Federal Circuit has held that§ 112, ,i 6 does not apply when te1ms ai·e claimed

together with language that connotes structure. Linear Tech. Corp. v. Impala Linear Corp., 379




1
  Micron's citation to the Sandisk Decision is misplaced. Brief at 5. The PTAB did not deny
institution based on a nanow construction of memo1y subsystems, but because Petitioner failed
to "sufficiently explain what it considers the volatile memo1y subsystem and does not point to
any clock with provides a first or third frequency to that subsystem." Dkt. 41-17 (Ex. 15 to Stone
Deel.) at 12.


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F.3d 1311, 1320 (Fed. Cir. 2004) (“[W]hen [a] structure-connoting term ‘circuit’ is coupled with

a description of the circuit’s operation…§ 112 ¶ 6 presumptively will not apply.”). Here, claim

16 connotes sufficiently definite structure for “controller” to a POSITA because it describes the

controller’s operation: “configured to decouple the non-volatile memory subsystem from the

volatile memory subsystem in the first mode of operation and to couple the non-volatile memory

subsystem to the volatile memory subsystem in the second mode of operation.” ’833 Patent at

22:12-17; Przybylski Decl., ¶ 39. The claim’s description of the controller’s operation is

sufficient to avoid § 112, ¶ 6. See, e.g., 911EP v. Whelen Eng’g Co., 512 F. Supp. 2d 713, 727

(E.D. Tex. 2007) (“The claim language…adds further structure by describing the operation of

the controller… sufficient to avoid section 112, ¶ 6.”) (emphasis added).

       Moreover, a POSITA would understand that the claimed “controller” refers to a known

class of memory technology components that can coordinate and control memory operations,

couple and decouple disparate memory types with different interfaces and data flow patterns,

produce outputs in response to inputs, and format or process data. See Przybylski Decl., ¶ 40. 2

This is taught by the ’833 Patent’s specification. See, e.g., ’833 Patent at 2:46-49; 4:58-61; 4:63-

64; 6:55-59; 6:63-7:4; 7:8-40; 8:22-31; 8:31-36; 10:8-18; 15:46-16:3. For example, the

specification teaches that the “controller” regulates data flow. See, e.g., id. at 2:53-56

(“controller configured to allow data to be communicated between the volatile memory

subsystem and the host system”) (emphasis added); 8:28-31; 10:15-17; 10:19-22; see also

Przybylski Decl., ¶ 40. The specification further teaches that “other management capabilities [for

the] non-volatile memory subsystem 40 are performed in the controller,” and the “controller” is



2
 Indeed, Micron’s own patents (e.g., U.S. Patent No. 9,081,718) recognize that controllers are
physical components capable of inputting data and outputting data, and of being able to “control
and communicate” with memory devices. See Przybylski Decl., ¶ 42.


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described as having various potential configurations, such as an FPGA. See, e.g., id. at 6:54-59,

10:55-58, 15:47-54.

       Micron’s assertion that “controller” is a nonce word also fails. Brief at 7. Micron ignores

the numerous cases finding that “controller” is not a nonce term. See, e.g., Virginia Innovation

Scis., Inc. v. Amazon.com, Inc., No. 4:18-cv-474, 2019 WL 4259020, at *13 (E.D. Tex. Sep. 9,

2019) (rejecting argument that controller is a nonce term ); Barkan Wireless IP Holdings, L.P. v.

Samsung Elecs. Co., No. 2:18-cv-28-JRG, 2019 WL 497902, at *22 (E.D. Tex. Feb. 7, 2019)

(same); Sound View Innovations, LLC v. Facebook, Inc., No. 16-cv-116 (RGA), 2017 WL

2221177, at *5 (D. Del. May 19, 2017) (same); Maxell Ltd. v. Huawei Device USA Inc., 297 F.

Supp. 3d 668, 748 (E.D. Tex. 2018) (same).

       Micron’s reliance on MTD Prods. Inc. v. Iancu, 933 F.3d 1336, 1343 (Fed. Cir. 2019) is

also misplaced. There, the disputed term “mechanical control assembly” was not disclosed in the

specification, and had no well-understood meaning in the art. Id. at 1340, 1344. Thus, the

Federal Circuit held that the term was not governed by § 112, ¶ 6. Here, in contrast, the ’833

Patent describes the claimed “controller” in detail, and a POSITA would understand what is

meant by “controller” in the ’833 Patent claims. See Przybylski Decl., ¶¶ 39-41.

       Micron’s reliance on Incom Corp. v Radiant RFID, LLC, No. 1-17-cv-0009-LY, 2018

WL 4690934, at *5 (W.D. Tex. Sep. 28, 2018) is similarly misplaced. There, the court concluded

“‘tag orientation controller’ does not name particular structures described in the specification,

but rather ‘refers only to a general category of whatever may perform specified functions,’”

unlike cases in which “the patent provided a detailed description of the structure of the disputed

term by name.” Id. at *6 (citing cases). The ’833 Patent describes the claimed “controller” in

detail, by name, and conveys definite structure, and this case is distinguishable from Incom.




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       Even if Micron can overcome the presumption that § 112, ¶ 6 does not apply, “controller”

should be construed to encompass the embodiments disclosed in the ’833 Patent for performing

the claimed function. See, e.g., ’833 Patent at 15:47-54 (FPGA); see also 2:46-49; 2:53-56; 4:58-

61; 4:63-64; 6:55-59; 8:28-31; 10:8-22; 10:55-58; Przybylski Decl., ¶¶ 40-41. Micron argues that

“controller” should be limited to one embodiment, which Micron contends is a “controller that is

separate from the volatile and non-volatile memory systems.” But the tenets of claim

construction prohibit limiting claim scope to a single disclosed embodiment. The ’833 Patent

never teaches that the controller must be separate and distinct from the non-volatile memory

subsystem or the volatile memory subsystem. See Continental Circuits, 915 F.3d at 797. And

volatile and non-volatile memory subsystems may or may not include certain types of control

elements. See supra, Section II.A. Thus, Micron’s narrow construction finds no support in the

specification and should be rejected.

III.   CLAIM CONSTRUCTION REGARDING THE ʼ035 AND ’608 PATENTS

       The ’608 Patent is a continuation of the ’035 Patent. Both patents are directed to memory

modules that ensure proper timing of the control and data signals received and transmitted

between the memory modules and a processor. The claims read on memory modules that include

a module control device that receives and transmits command signals, memory devices that

perform memory operations in response to signals sent by the module control device, and data

buffers that include logic for obtaining timing information from a memory operation and

controlling timing of data and strobe signals on data paths based on that timing information.




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          A.      "module control device" 3

         Plaintiffs Proposed Construction                     Defendants' Proposed Construction
    Plain and ordinary meaning, as would be               This is a means-plus function limitation.
    understood by one of ordinary skill in the a.ii       Function: entire limitation after "configured
    in the context of the entire disclosure.              to."
    Neither indefinite nor subject to § 112, ,r 6.        Co1Tesponding Stmcture: Indefinite - no
                                                          conesponding structure.

          Claim 1 recites "a module control device" without the word "means." The claim language

conveys sufficient stmcture to preclude application of§ 112, ,r 6. Williamson, 792 F.3d at 1348.

          The claims require that the "module control device" must be "mounted on the module

boai·d." '035 Patent at claim 1; '608 Patent at claim 1. The claims fuiiher describe that the

"module control device" be configured to (1) receive ce1iain signals for a paiiicular operation

from the memo1y conti·oller via specified signal lines; and (2) output specific signals in response.

Id. Perfonnance of these fuiictions requires ce1iain strnctural capability that cannot be achieved

by any generic hai·dwai·e or softwai·e component. Przybylski Deel., ,r 56; see also Linear Tech.,

379 F.3d at 1320; Abacus, 462 F.3d at 1355-56.

          For exainple, a POSITA would understand that the claims require that the "module

control device" have (1) connections to signal traces for receiving commands from a memo1y

controller; (2) connections to command signal ti·aces that couple the module control device to

other components on the memo1y module; and (3) internal fuiictional units responsible for

registering and decoding the command signals and the driving of the module control signals and

the module command signals, respectively. Id. at ,r,r 58-59. A POSITA would also understand

that many conti·ol stmctures and implementations ai·e outside the scope of the claimed tenn; for

example, the claims would exclude from the scope of the claimed "module conti·ol device" the


3
    The full te1m is included in Micron's Opening Brief.

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host memory controller, or other controllers that may be on module but exclusively perform non-

data related control functions (for example, controllers for power supply or engine). Id. at ¶ 61.

       Micron wrongly suggests that the claim language does not describe how the “module

control device” interacts with other claim components; this ignores the express claim language.

For example, claim 1 of the ’035 Patent provides that the “module control device” must receive

memory command signals from the memory controller via control/address signal lines.

Przybylski Decl., ¶ 60. The claims also recite that the “module control device” outputs module

command signals and module control signals to memory devices and buffer circuits, respectively.

’035 Patent at claim 1; ʼ608 Patent at claim 1; Przybylski Decl., ¶ 60. Thus, the claim language

provides details regarding how the “module control device” “interacts with other components ...

in a way that ... inform[s] the structural character of the limitation-in-question or otherwise

impart[s] structure....” Williamson, 792 F.3d at 1351.

       Ignoring the claim language as written, Micron argues that § 112, ¶ 6 must apply because

the words “module,” “control,” and “device”—viewed only in isolation—are nonce words

lacking structure for performing the claimed function. But Micron has not asked the Court to

construe the terms individually, and terms must be construed in context. Hockerson-Halberstadt,

Inc. v. Converse Inc., 183 F.3d 1369, 1374 (Fed. Cir. 1999) (“Proper claim construction,

however, demands interpretation of the entire claim in context, not a single element in

isolation.”). Micron’s analysis that focuses on individual terms in a vacuum is inapposite because

the explicitly defined structure makes clear that the patentee here did not recite those terms as

generic nonce words in these particular claims. Micron relies on Williamson, but again its

reliance is misplaced. In Williamson, the Federal Circuit concluded “module” was a nonce word

because, as claimed in that case, it did “not provide any indication of structure” but instead “set




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forth the same black box recitation of structure for providing the same specified function as if the

term ‘means’ had been used.” 792 F.3d at 1350. Here, as described above, the claim language

inarguably indicates well-defined structure.

       The claims’ recitation of the term “module” as a modifier of “control device” does not

reflect the patentee’s reliance on a generic nonce word as Micron argues. Instead, “module” is a

specific reference to the patents’ extensive disclosure of memory modules, which connote a

specific, structural meaning to a POSITA. See, e.g., ’035 Patent at 1:40-2:32 (“A memory

module usually includes multiple memory devices, such as dynamic random access memory

devices (DRAM) or synchronous dynamic random access memory devices (SDRAM), packaged

individually or in groups, and/or mounted on a printed circuit board (PCB).”), 8:6-9 (“In certain

embodiments, the memory module 110 is a dual in-line memory module (DIMM) and the

memory devices are double data rate (DDR) dynamic random access memory devices

(DRAM).”); see also ’608 Patent at 1:50-2:36, 8:9-12; Przybylski Decl., ¶ 62. This is reflected in

the language of Claim 1 itself, which claims “[a] memory module…” that the claimed “module

control device” is a part of. Micron’s attempt to decouple the disputed term from the context of

the claims and specification must be rejected.

       Micron also completely ignores the specification’s extensive description of the structure

of the “module control device.” 4 The “module control device” 116 is “coupled to the [memory

controller] 101 via the C/A signal lines,” and “the memory devices 112, the module control

circuit 116 and the isolation devices 118 can be mounted on a same side or different sides of a

printed circuit board (module board) 119.” ’035 Patent at 4:25-33; ’608 Patent at 4:27-35;




4
 The specification also refers to the “module control device” 116 as a “module control circuit”
or a “module controller.” See ’035 Patent at 4:25-30; ’608 Patent at 4:27-32.


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Przybylski Deel., ,nr 62-63. The specifications also describe that "[i]n certain embodiments, the

control circuit 116 includes a DDR register, and logic for memo1y space translation between a

system memo1y domain and a module level physical memo1y domain." '035 Patent at 8:9-12;

'608 Patent at 12-16; Przybylski Deel., ,nf 62-63. The specifications also describe how the

module control signals "travel along the module control signals lines 230 from the module

control device 116 to the farthest positioned isolation devices 118." '035 Patent at 9:49-54; '608

Patent at 9:52-57; Przybylski Deel., ,i,i 62-63. Indeed, Figure 2D shows a physical "module

control device" (116) on the memo1y module, between sets of memo1y devices and having

certain signaling pathways:




                                                     DIMM conb-.1 signals &CK
                                Oata (l>ytl0-wl$0)           from                Oaia (t,y(•wi"')
                                 tdfromHost          oystem memory�                 l<>'f«>ml-mt
                               Metumy wr1tr�                                    Mto:ti,)()fy civkoi:b




Przybylski Deel., ,nf 62-63.

       Even if Micron overcomes the presumption that§ 112, ,i 6 does not apply, the

specification discloses conesponding stmcture. "Module control device" should be constmed to

encompass each of the embodiments disclosed in the '035 and '608 Patents for performing the

claimed function. See '035 Patent Figures 1, 2A, 2B, 2C, 2D, 7, 12A, 12B, 4:25-33; 4:63-5:8;

5:55-63, 8:6-30; see also '608 Patent at Figures 1, 2A, 2B, 2C, 2D, 7, 12A, 12B, 4:27-35; 4:65-

5:10, 5:58-66, 8:9-34; see also Creo Prods., Inc. v. Presstek, Inc., 305 F.3d 1337, 1346 (Fed. Cir.

2002) ("Proper application of§ 112, ,i 6 generally reads the claim element to embrace distinct

and alternative described structures for perfonning the claimed function.") (citations omitted);

see also Przybylski Deel., ,i 65. Micron's enoneous proposed consti11ction must be rejected.


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       B.      "logic configured to respond to the module control signals by enabling
               the data paths . . . wherein the logic is further configured to obtain
               timing information based on one or more signals received by the each
               respective buffer circuit during a second memory operation prior to
               the first memory operation to control timing of the respective data and
               strobe signals on the data paths in accordance with the timing
               information" ('035 Patent, Claim 1)

      Plaintiffs Proposed Construction                  Defendants' Proposed Construction
 Plain and ordinary meaning, as would be            This is a means-plus function limitation.
 understood by one of ordinary skill in the a.ii    Function: entire limitation after "configured
 in the context of the entire disclosure.           to." fu addition, the entire limitation after "the
 Neither indefinite nor subject to § 112, ,r 6.     logic is fmiher configured to."
                                                    Conesponding Stmcture: fudefinite - no
                                                    conesponding structure.

       Again, Micron attempts to shoehorn a structural claim te1m into the confines of § 112,

,r 6. But comis have consistently found that the te1m "logic" connotes sufficiently definite
structure and is not a "nonce" or "fmictional" word that is subject to the limitations of§ 112, ,r 6.

See, e.g., CDN Innovations, LLC v. Grande Commc'ns Networks, LLC, 2021 WL 3615908, at

*11-12 (E.D. Tex. Aug. 13, 2021); Uniloc USA, Inc. v. Samsung Elecs. Am., Inc., No. 2:17-cv-

651-JRG, 2018 WL 5296046, at *18 (E.D. Tex. Oct. 24, 2018) (concluding that the te1m "incline

logic" was not subject to 35 U.S.C.§ 112 ,r 6 and did not require constr11ction); TecSec, Inc. v.

IBM, 731 F.3d 1336, 1348 (Fed. Cir. 2013) ("[T]he te1m 'digital logic' designates strncture to

skilled aiiisans-namely digital circuits that perform Boolean algebra."); Intel C01p v. VIA

Techs., 319 F.3d 1357, 1366 (Fed. Cir. 2003) (finding that "core logic" was adequate

conesponding structure for a claimed fwiction even though there was no specific circuitry

disclosed to show how the "core logic" was modified); Razor USA LLC v. DGL Grp., No. 19-

12939(JMV), 2021 WL 651257, at *19 (D.N.J. Feb. 19, 2021) (finding that 35 U.S.C. § 112, ,r 6

did not apply and construing "contr·ol logic" as "electr·onic control circuitry"); PCTEL, Inc. v.

Agere Sys., No. C 03-2474 MJJ, 2005 WL 2206683 at *21 (N.D. Cal. Sep. 8, 2005) ("A review


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of the technical dictionaries supports [patentee]’s view that ‘logic,’ by itself, can connote

structure.”) (citing McGraw-Hill Dictionary of Scientific and Technical Terms (5th ed. 1994)).

       Micron wholly ignores the universe of cases that doom its position. And the single case

relied on by Micron is inapplicable here because, in Egenera Inc. v. Cisco Sys., the term “logic to

modify . . .” appeared in claims that broadly covered a software platform, and the functionality

described in the claim did not convey any structure to a POSITA. 972 F.3d 1367, 1375 (Fed. Cir.

2020). Importantly, the Egenera court drew a distinction between logic claimed as “circuitry”—

which does convey sufficient structure—and logic claimed as an abstract concept referring to

computer operations generally, which does not. Id. The district court in that case concluded that a

POSITA would not understand “logic” as claimed in that patent to refer to circuitry, but rather as

an abstraction for the set of steps designed to accomplish a stated function, and the court applied

§ 112, ¶ 6. Egenera, Inc. v. Cisco Sys., Inc., No. 16-11613-RGS, 2018 WL 717342, at *5 (D.

Mass. Feb. 5, 2018), aff’d, 972 F.3d 1367 (Fed. Cir. 2020). On appeal, the Federal Circuit

agreed, finding that the claims provided “no structural limitation to the ‘inputs, outputs,

connections, and operation’ of the claimed ‘logic to modify,’” and, on that basis, held that

“logic” as claimed was a generic substitute for the word “means.” Egenera, 972 F.3d at 1375.

       Here, in contrast, the use of the term “logic” in the context of memory modules and as

claimed, specifically, conveys sufficient structure to a POSITA. Przybylski Decl., ¶ 69. The

claims do not recite “logic” as an abstract concept. Instead, they describe the objectives and

operations of the circuitry, which includes a memory module including a buffer circuit with logic

that is configured to respond to particular signals generated from particular structural

components, obtain timing information during particular operations, and then control timing of

particular signals traveling along a particular data path. See ’035 Patent at claim 1; Przybylski




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Decl., ¶ 70. Specifically, the “logic” claimed in the ’035 Patent must be configured to

(1) respond to module control signals, which are generated—in response to a first memory

operation from a system memory controller—by a module control device mounted on the

module board and sent to buffer circuits that are positioned between data/strobe signal lines and

a set of memory devices; (2) enable data paths that are used to transfer data and strobe signals

between the set of memory devices and the system memory controller; (3) obtain timing

information via signals received by a buffer circuit during a memory operation; and (4) control

timing of data and strobe signals on the data paths based on the timing information. ’035 Patent

at claim 1; Przybylski Decl., ¶ 70.

       Unlike in Egenera, the functions attributed to the claimed “logic” in the ’035 patent

cannot be performed by a generic, black-box software component. Przybylski Decl., ¶ 71.

Instead, a POSITA would understand that “logic” refers here to particular control, data, and

timing circuitry, which courts have consistently found to convey sufficient structure. Id. For

example, a POSITA would understand that the claimed “logic” in the recited buffer circuit would

include (1) logic circuitry that performs logic operations to obtain timing information based on

the signals received by the buffer circuit; and (2) control circuitry to control the timing of the

data and strobe signals on the data paths in the buffer circuit. Id. The “logic” would also enable

the data paths within the buffer circuit in response to the module control signals. The “logic”

would also include a decoder to interpret the module control. Id. These constraints ground the

“logic” term and belie Micron’s claims of abstraction.

       A POSITA would further understand that certain logic structures and implementations

are outside the scope of the claimed “logic.” For example, because the claimed “logic” is

included in the buffer circuit to control data transfers between the memory devices and the




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memory controller, a POSITA would understand “logic” as circuitry capable of performing logic

functions, and would understand that the claims would exclude any implementation of the

claimed “logic” that is not circuitry capable of performing logic functions. Id. at ¶ 72. As a

result, the term “logic” as recited in claim 1 designates structure to skilled artisans. Id. at ¶ 77.

        Micron summarily asserts that the specification does not describe the structure of the

buffer circuit’s “logic.” This is wrong. For example, the specification describes the

isolation/buffer circuit 118, and teaches the use of logic circuits to deal with the difficulties of

high-speed operation and the requirement for precise timing of the data and strobe signals. See,

e.g., ’035 Patent at Figures 6, 8-19, 4:18-33; 8:1-5; and 8:18-30; Przybylski Decl., ¶¶ 73-75. The

specification further describes how the module control signals are received and decoded, and

how a logical mode signal can specify how the buffer circuit data path is to be enabled. ’035

Patent at 5:40-48; Przybylski Decl., ¶¶ 73-75. The specification further describes, in Figure 6 and

its associated text, the logic circuits found in certain embodiments of the buffer circuit. Id. at

Figure 6, 11:66-12:34. The circuits that perform the temporal adjustment of the module control

signals to avoid metastability are disclosed in detail, as well. Id. at 12:34-15:11; Przybylski

Decl., ¶¶ 73-75. 5

        In determining the applicability of § 112, ¶ 6, the Court must determine whether the

stated objectives and operation of the “logic” recited in the claims connote sufficiently definite

structure. Linear Tech., 379 F.3d at 1319-21 (Fed. Cir. 2004) (finding that “circuit [for

performing a function]” was sufficiently definite structure because the claim recited the




5
  Technical dictionaries also confirm that use of the term “logic,” by itself, connotes structure.
See, e.g., Przybylski Decl., ¶ 76, Ex. E (defining “logic” as “[t]he circuits in a computer which
enable the performance of logic functions or operations, such as AND, OR, and NOT. These
include gates and flipflops. Also the manner in which these circuits are arranged.”).


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"objectives and operations" of the circuit.). Here, because a POSITA would understand "logic"

as claimed in the '035 Patent to refer to circuitry, and that "logic" is not an abstr·act reference for

generic computer operations, § 112, � 6 does not apply.

       Even if the Comt detennines that "logic" is a means-plus-fonction te1m in contr·avention

of well-trodden caselaw and the intr·insic evidence here, the te1m still should be constr11ed to

encompass each of the embodiments disclosed in the '035 Patent for perfo1ming the claimed

fonction. See '035 Patent at Figures 3, 6, 1lA, 11B, 12A, 12B, 14, 15, 16, 19; see id. at 10:47-66,

12:7-22, 14:52-17:49, 18:9-15, and 18:63-19:7; Przybylski Deel.,� 78.

        C.     "a command processing circuit configured to decode the module
               control signals and to control the data path in accordance with the
               module control signals and the module clock signal . . . at least one
               tristate buffer controlled by the command processing circuit" ('608
               Patent, Claim 1)

      Plaintiffs Proposed Construction                     Defendants' Proposed Construction
 Plain and ordinaiy meaning, as would be               This is a means-plus function limitation.
 understood by one of ordinaiy skill in the rut      Function: entire limitation after "configured
 in the context of the entire disclosure.            to" and before "and a delay circuit."
 Neither indefinite nor subject to § 112, � 6.       Co1Tesponding Stmcture: Indefinite - no
                                                     conesponding structure

        As explained above, the Federal Circuit has made elem· that where the te1m "circuit" is

"combined with a description of the fonction of the circuit, [it] connote[s] sufficient str11cture to

one of ordinaiy skill in the rut to avoid § 112, � 6 treatment." Abacus, 462 F.3d at 1355-1356

(finding the recitation of "aesthetic conection circuitry" sufficient to avoid § 112, � 6, tr·eatment

because the tenn circuit, combined with a description of the function of the circuit, connoted

sufficient str11cture to one of ordinaiy skill in the a1t); see also Linear Tech., 379 F.3d at 1319-21

(finding that "circuit [for perfo1ming a fonction]" was sufficiently definite str11cture because the

claim recited the "objectives and operations" of the circuit); Apex Inc. v. Raritan Computer, Inc.,



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325 F.3d 1364, 1373 (Fed. Cir. 2003) (“[T]he term ‘circuit’ with an appropriate identifier such as

‘interface,’ ‘programming’ and ‘logic,’ certainly identifies some structural meaning to one of

ordinary skill in the art.”). The Federal Circuit has consistently declined to interpret the terms

like, “logic, “circuit,” or “circuitry” as means-plus-function limitations. See also supra, Section

III.B. Again, however, Micron asks this Court to wholly ignore the controlling case law.

       Here, as in Apex and its progeny, 6 the claim pairs the term “circuit” with a description of

its function and, thus, connotes sufficient structure to a POSITA. Przybylski Decl., ¶ 81. The

’608 Patent claims recite a “command processing circuit,” which is specifically configured to

(1) receive and decode module control signals; (2) control the data path in accordance with

module control signals and the module clock signal; (3) control at least one tristate buffer; and

(4) determine an amount of delay for a data signal through the data path in response to a module

control signal, the data path corresponding to each data/strobe signal line in the respective set of

data/strobe signal lines. ’608 Patent at claim 1; Przybylski Decl., ¶ 82. Here, structural



6
  See, e.g., Phenix Longhorn, LLC v. Wistron Corp., No. 2:17-cv-00711-RWS, 2019 WL
2568476, at *16 (E.D. Tex. Jun. 21, 2019) (finding that “circuit” or “circuitry” is neither a nonce
term nor governed by §112, ¶ 6); Intellicheck Mobilisa, Inc., v. Honeywell Int’l Inc., No. C16-
0341JLR, 2017 WL 6550700, at *6 (W.D. Wash. Dec. 21, 2017) (same); Realtime Data, LLC v.
Rackspace US, Inc., No. 6:16-cv-00961 RWS-JDL, 2017 WL 2590195, at *15 (E.D. Tex. Jun.
14, 2017) (same); Customedia Tech., LLC v. DISH Networks Corp., No. 2:16-cv-129-JRG, 2017
WL 568669, at *32 (E.D. Tex. Feb. 13, 2017) (same); Cequent Performance Prod., Inc. v.
Hopkins Mfg. Corp., No. 13-cv-15293, 2017 WL 371230, at *5 (E.D. Mich. Jan. 26, 2017)
(same); Technology Licensing Corp. v. Blackmagic Design Pty Ltd., No C 13-051854 SBA, 2016
WL 8902602, at *14 (N.D. Cal. Nov. 23, 2016) (same); Intellicheck Mobilisa, Inc. v. Wizz Sys.,
LLC, 173 F. Supp. 3d 1085, 1111 (W.D. Wash. 2016) (same); Core Wireless Licensing S.A.R.L.
v. LG Elec., Inc., No. 2:14-cv-0911-JRG-RSP, 2015 WL 6956722, *17 (E.D. Tex. Nov. 9, 2015)
(same); Acco Brands USA, LLC v. Comarco Wireless Tech., Inc., No. C 11-04378 RS, 2013 WL
843447, *15 (N.D. Cal. Mar. 6, 2013) (same); Micro Motion, Inc. v. Krohne, Inc., No.
09CV10319-NG, 2011 WL 386837, at *12 (D. Mass. Feb. 3, 2011) (same); P3 Intern. Corp. v.
Unique Prods. Mfg. Ltd., No. 08 Civ. 5086 (DLC), 2009 WL 1424178, at *7 (S.D.N.Y May 21,
2009) (same); RGB Sys., Inc. v. SP Controls, Inc., No. 04-6946 GPS (FMOx), 2005 WL
6225161, at *5 (C.D. Cal. Aug. 12, 2005) (same); Inline Connection Corp. v. AOL Time Warner
Inc., 302 F. Supp. 2d 307, 325-26 (D. Del. 2004) (same).


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limitations are inherent to the claim language. A POSITA would understand the claims’

requirement that the “command processing circuit” receive and decode module control signals

conveys to a POSITA that the “command processing circuit” includes receiver circuits to

perform the receiving. Przybylski Decl., ¶ 83. Similarly, the claims’ requirement that the

“command processing circuit” decodes the module control signals conveys to a POSITA that the

“command processing circuit” include a decoder. Id. The claims’ requirement that the command

processing circuit controls a tristate buffer in the data path conveys to a POSITA that the

“command processing circuit” includes a command signal driver to drive the signal controlling

the tristate buffer in the data path. Id. These constraints ground the scope of the term.

       The claims’ description of how the “command processing circuit” interacts with other

claimed components also imparts structure. For example, the express claim language makes clear

that the “command processing circuit” must be capable of receiving module control signals from

the module control device, as well as control the claimed tristate buffer. ’608 Patent at claim 1.

This conveys to a POSITA that the “command processing circuit” include a command signal

driver to drive the signal controlling the tristate buffer into the data path. Przybylski Decl., ¶¶ 83-

84.

       The intrinsic written specification further teaches that the “ID control circuit 310 further

includes a command processing circuit 640 that provides the received, decoded, and/or

otherwise processed module control signals 330 to the DQ routing circuits 320 and the strobe

routing circuit 620 either directly or after further processing, if needed.” ’608 Patent at 12:14-19

(emphasis added); id. at 12:19-26 (describing exemplary “received/decoded/processed module

control signals” sent by the command processing circuit); Przybylski Decl., ¶ 86. Figure 6

confirms this structure as shown below.




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                                     0(0
                                                                                                         / 310
                                           WOQS ROOS



                               DQS


                         324



                                                              Command Proce-ssln g §12



                                                       6:10


                         610
                               \..




                                     CK
                                                                              OB CommandSignal s (MCS)


                                                       FIG. 6


'608 Patent at Fig. 6.

       Figures 15 and 16 show tr·istate buffers 1520A/1630A and 1530B/1630B contr·olled by

conu-ol signals ENA and ENB, respectively. These signals are generated and driven from within

the command processing circuit. '608 Patent at Figures 6, 14-16, and 19, 10:50-11:7, 12:19-26;

see also Przybylski Deel., ,r 85. The details provided by the patent regarding how the "command

processing circuit" interacts with other components-which Micron fails to address-conveys

structure to a POSITA. See Williamson, 792 F.3d at 1351.

       The two distr·ict court cases Micron cites are inapplicable here. Brief at 17 (citing

Limestone Mem01y Sys. LLC v. Micron Tech., Inc., No. 8:15-cv-00278-DOC, 2019 WL

6655273, at *18-19 (C.D. Cal. Sep. 11, 2019) and Koninklijke PhiUps NV v. ZOLL Lifecore

Corp., No. 2:12-cv-1369, 2015 WL 12781199, at *14 (W.D. Pa. Aug. 28, 2015)). First, those

cases are not binding. Second, they each represent minority views. Finally, the cases are readily

distinguishable-unlike the claims here, both cases rely on claimed circuitry that was completely

unbound.

       Because a POSITA would understand the claimed "command processing circuit" to



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convey stmcture as described above, § 112, � 6 does not apply. To the extent the Court finds the

tenn subject to § 112 in contravention of case law and the intrinsic record, there is corresponding

structure in the specification. See '608 Patent at Figures 3, 6, 1 lA, 1 lB, 12A, 12B, 14, 15, 16,

19; see id. at 10:50-11:2, 12:11-26, 14:57-17:54, 18:14-20, and 19:1-12 (reflecting embodiments

for perfonning the claimed function); see also Przybylski Deel., � 88.

IV.       CLAIM CONSTRUCTION REGARDING THE '314 PATENT

          The '314 Patent relates to devices and methods for improving the perf01mance and/or

memo1y capacity of memo1y modules in computer systems. '314 Patent at 1:46-49. At a high

level, the claimed inventions pennit increased memo1y density of memo1y devices to improve

the perfo1mance and/or memo1y capacity of memo1y modules. Id. at 2:64-3:13.

          A.      "burst of data strobes" (Claims 1, 15, 25, and 28)

           Plaintiff's Proposed Construction                 Defendants' Proposed Construction
    Plain and ordinaiy meaning, as would be               Indefinite.
    understood by one of ordinaiy skill in the aii in
    the context of the entire disclosure. Not
    indefinite.
    In the alternative
    "sti·obe signals with successive rising and falling
    edges, each edge being associated with one or
    more data bits" 7

          Micron challenges the validity of claims 1, 15, 25, and 28 by ai·guing the te1m "burst of

data sti·obes" is indefinite. Micron's ai·gument is meritless.

          The '314 Patent specification teaches what is meant by "burst of data su-obes." For

example, the specification refers to data bursts, which ai·e temporally consecutive values

ti·ansinitted on a data bus. See, e.g., '314 Patent at 3:17-4:30, 13:28-51; Fig. 7 (burst of four (data


7
 Netlist's alternative consti11ction is ainended from "a data bit" to "one or more data bits." See
Przybylski Deel.,� 92. This change adds precision and does not impact the paiiies' positions. Id.


                                                    20
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a) values (Qa0-Qa3) synchronized to four edges of a data strobe signal); Przybylski Deel., ,i,i 96-

98. Data strobe signal (DQS) lines cany data strobe signals. '314 Patent at 13:60-14:22, 14:41-

56, 35:20-23; Przybylski Deel., ,i 99. The specification also teaches that in DDR SDRAM,

memo1y devices operate with data transfer protocol which sunounds each burst ofdata strobes

with a pre-amble and a post-amble (as shown in Figures 6A and 6B). '314 Patent at 13:18-22.

Tmning to Figure 6A, a POSITA would understand a burst of data strobes as being strobe signals

with successive rising and falling edges-that are used to capture the individual data values of

the data bursts-between the pre-amble and post-amble, each edge being associated with one or

more data bits. See Przybylski Deel., ,i 100.

                            Burst of data strobe signals        Individual data strobe signals
                   CK

                Commond

                  DOS

                  DQs




'314 Patent, Fig. 6A (annotated).

       A POSITA's understanding would be further informed by the JEDEC standards for

DDR2 memo1y systems, which are discussed in the '314 Patent's specification. Przybylski Deel.,

,i,i 39-41. The cited standards explain the (1) pmpose and operation of strobe signals on DQS

signal lines, (2) relationship between strobe signals and conesponding data values for both read

and write memo1y operations, and (3) temporal relationship between data strobe signals on the

DQS signal lines and the data values on the DQ lines. Id. at ,i,i 101-103.

       fustead of focusing on whether a POSITA would understand the meaning of the te1m

"burst of data strobes," Micron argues that the tenn is allegedly indefinite because a strobe signal



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line could originate from either two different memory devices, or a single memory device.

According to Micron, the term “burst of data strobes” must take on two opposed meanings and,

thus, the term is rendered completely unintelligible. Micron’s argument is meritless.

       First, the specific origin of a strobe signal line is irrelevant to a POSITA’s ability to

understand the term “burst of data strobes.” For example, turning again to Figure 6A, regardless

of where the data strobe signal (DQS) line originated from, a POSITA would readily be able to

identify the burst of data strobes, which is circled above. See Przybylski Decl., ¶¶ 100, 106.

       Second, though Micron argues that a strobe signal line can be formed in different ways,

that does not mean that the term “burst of data strobes” must adopt two different meanings. For

example, Figure 7 of the ’314 Patent shows three different data strobe signal lines—one for

strobe a, one for strobe b, and one for combined strobe. A POSITA would understand that the

term “burst of data strobes” is correctly applied to each of those signal lines using the same

meaning—expressly as shown in Figure 7. See Przybylski Decl., ¶¶ 106-107.

       Finally, Micron’s reliance on Dow Chem. Co. v. Nova Chems. Corp., 803 F.3d 620 (Fed.

Cir. 2015) and Teva Pharm. USA, Inc. v. Sandoz, Inc., 789 F.3d 1335 (Fed. Cir. 2015) is

misplaced. Those cases included claims requiring precise mathematical calculations to determine

adherence to claim terminology, and thus infringement. Not so here. The identification of a burst

of data strobes does not change depending on how a data strobe signal was formed, which

distinguishes this case from Dow and Teva. At most, Micron’s arguments suggest that “burst of

data strobes” can be applied to different embodiments, but that does not render the term

indefinite. See Cywee Grp., Ltd. v. Huawei Device Co., Ltd., No. 2:17-cv-00495 WCB-RSP,

2018 WL 6419484, at *15 (E.D. Tex. Dec. 6, 2018) (“Merely because a claim is drafted broadly

and could cover a variety of methods does not automatically render a claim indefinite.”).




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       B.      The "Logic" Terms (Claims 1, 15, and 25)

       Plaintiffs Proposed Construction                 Defendants' Proposed Construction
 Plain and ordinary meaning, as would be            This is a means-plus-function limitation.
 understood by one of ordinary skill in the a.ii    Function
 in the context of the entire disclosure.              For claim 1, "respond[ing] to the
 Neither indefinite nor subject to § 112, ,r 6.        first/second memo1y command by
                                                       providing first/second control signals to
                                                       the circuitiy"
                                                       For claims 15/25, "output[ting]
                                                       first/second contl'ol signals to the
                                                       circuitiy . . . in response to the
                                                       first/second read or write memo1y
                                                       command"
                                                    Co1Tesponding Stmcture: Indefinite - no
                                                    conesponding stiucture.

       Claims 1, 15, and 25 recite "logic" tenns without the word "means." Thus,§ 112, ,r 6 is

presumed not to apply, and should not apply here for the following reasons.

       First, the claims ti-eat "logic" as a stiuctural limitation. See Przybylski Deel., ,r 112.

Claim 1 recites that logic is "coupled to" circuitiy and configured to provide contl'ol signals to

the circuitiy. "Logic" therefore denotes a physical sti11cture in the '314 Patent claims. Rodime

PLC v. Seagate Tech., Inc., 174 F.3d 1294, 1303-04 (Fed. Cir. 1999) (finding that reciting

location and interconnection of elements is a detailed recitation of stiucture).

       Second, the specification confinns that "logic" denotes sti11cture in the context of the

asse1ied claims. See Przybylski Deel., ,r 113. For example, the specification teaches that the

claimed "logic" elements can be selected from a group of physical components consisting of"a

prograinmable-logic device (PLD), an application-specific integrated circuit (ASIC), a field­

prograinmable gate a1rny (FPGA), a custom-designed semiconductor device, and a complex

prograinmable-logic device (CPLD)." '314 Patent at 7:5-10. Figure 9A also includes a diagram



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of memory module 10 including electrical components which are electrically coupled to one

another and are surface-mounted or embedded on the printed circuit board 210, wherein the logic

element is depicted as one of the physical components. Id. at Figure 9A, 16:36-39, 16:60-63; see

also Medtronic, Inc. v. Edwards Lifesciences Corp., No. 11-1650 (JNE/JSM), 2013 WL

2147909, at *10 (D. Minn. May 16, 2013) (“[E]ach figure depicts the ‘tensioning component’ as

a definite structure—as an identifiable part of the connector assembly. . . . It is not a generic term

such as ‘mechanism,’ means,’ ‘element,’ or device.’”). The specification also includes numerous

other examples where logic is described as a physical, structural element. See, e.g., ’314 Patent at

7:12-16, 9:25-51, 15:19-24, 17:50-55, 22:51-53, 34:42-67; Verilog examples 1-3 (describing

physical hardware structures that perform logic functions); see also Przybylski Decl., ¶¶ 113-

115.

        Third, courts have consistently found that “logic” connotes sufficiently definite structure

and is not a “nonce” or “functional” word that is subject to the limitations of § 112 ¶ 6. See supra

Section III.B. This is consistent with extrinsic evidence, including dictionary definitions. Id.

        Fourth, the asserted claims describe sufficient structure for logic for performing the

claimed functions. See Przybylski Decl., ¶ 112. A POSITA would understand that the claimed

logic is not an isolated and abstract device, but rather a concrete unit that fills multiple critical

roles within the memory module. Id. at ¶ 115. In particular, the claims recite limitations wherein

the logic must be a specific type of device capable of (1) receiving memory commands, (2)

decoding and interpreting those commands, (3) generating the appropriate control signals at the

appropriate time, and (4) communicating those control signals to the recited circuitry. Id. A

POSITA would therefore understand that the claimed logic (1) includes physical structures such

as receivers, decoders, registers, and drives to perform those claimed functions, and (2) exclude




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other types of logic lacking those stmctures to perfo1m the claimed functions. Id. Impoitantly, a

tenn is not equivalent to "means" simply because such tenn may be broad and does not "call to

mind a single well-defined structure." Greenberg v. Ethicon Endo-Surgery, Inc., 91 F.3d 1580,

1583 (Fed. Cir. 1996). Thus, while not limited to a single embodiment, the claims recite

sufficiently definite stmcture to avoid the ambit of § 112, ,r 6.

       Fifth, Micron's reliance on Egenera, 972 F.3d at 1375 and MTD Products, 933 F.3d at

1243 is inapposite for the same reasons as set fo1ih above. See supra Section III.B.

       Finally, even if the Comt dete1mines that "logic" is a means-plus-function te1m, the te1m

should still be constmed to encompass each of the stmctural embodiments disclosed in the '314

Patent for perfonning the claimed function. See, e.g., '314 Patent at 7:5-10 (PLD, ASIC, FPGA,

and CPLD devices), 7:12-16, 9:25-51, 15:19-24, 16:36-39, 16:60-63, 17:50-55, 22:51-53, 34:42-

67, Figs. 5A-5D, 9A-9B, Verilog examples 1-3; Przybylski Deel., ,r 117; see also Creo, 305 F.3d

at 1346.

       C.      "overall CAS latency of the memory module" / "actual operational
               CAS latency of each of the memory devices[/of each of the plurality of
               memory integrated circuits]" (Claims 1, 15, 25, and 28)

       Plaintiffs Prooosed Construction                 Defendants' Prooosed Construction
 Plain and ordinaiy meaning, as would be            "overall CAS latency of the memo1y module"
 understood by one of ordinaiy skill in the rut     means "the delay between: (1) the time when
 in the context of the entire disclosure.           a read command is executed by the memo1y
                                                    module, and (2) the time when the first piece
 In the alternative
                                                    of data is made available at an output of the
 "overall CAS latency of the memo1y module"         memo1y module"
 means "the delay between: (1) the time when
                                                    "actual operational CAS latency of each of
 a command is sainpled on the memo1y
                                                    the memo1y devices[/of each of the plurality
 module, and (2) a time when the first piece of
                                                    of memo1y integrated circuits]" means "the
 data is available at the data pins of the
                                                    delay between: (1) the time when a read
 memo1y module"
                                                    command is executed by each of the memo1y
 "actual operational CAS latency of each of         devices[/each of the plurality of memo1y
 the memo1y devices[/of each of the plurality       integrated circuits], and (2) the time when the
 of memo1y integrated circuits]" means "the         first piece of data is made available at an
 delay between: (1) the time when a command         output of each of the memory devicesr/of


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    is executed by each of the memory                    each of the plurality of memory integrated
    devices[/each of the plurality of memory             circuits]”
    integrated circuits], and (2) a time when the
    first piece of data is available at the data pins
    of each of the memory devices[/of each of the
    plurality of memory integrated circuits]”

          The dispute here is whether the disputed CAS latency terms only apply to read

commands, or whether they apply to both read and write commands. Netlist’s proposals are

consistent with the plain and ordinary meaning of the CAS latency terms that applies to both read

and write commands. Micron, on the other hand, attempts to improperly narrow the disputed

terms to encompass read commands only. Micron’s unjustified narrowing should be rejected. 8

          First, the language of the claims themselves support constructions that include both read

and write commands. See Biagro W. Sales, Inc. v. Grow More, Inc., 423 F.3d 1296, 1302 (Fed.

Cir. 2005) (“[C]laim construction begins with, and remains focused on, the language of

the claims.”). For example, independent claim 15 applies the concept of an overall CAS latency

to both read or write commands. See, e.g., ’314 Patent at 45:19-29; Przybylski Decl., ¶ 124.

          Second, the ’314 Patent specification supports Netlist’s constructions including both read

and write commands. For example, the specification teaches that “[t]he one-cycle time delay of

certain such embodiments provides sufficient time for read and write data transfers to provide

the functions of the data path multiplexer/demultiplexer.” ’314 Patent at 22:53-58 (emphasis

added). Here, the time delays apply to both read data which are multiplexed onto the common

DQ/DQS signal lines to the memory controller, and to write data which are demultiplexed onto

the DQ/DQS signal lines to the memory devices. Przybylski Decl., ¶ 125. The specification also



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 Contrary to what Micron argues, a POSITA would have been readily familiar with the concept
of CAS latencies at the time of the Solomon invention. See, e.g., Przybylski Decl., ¶ 121. As
such, plain and ordinary meanings of the disputed CAS latency terms can be applied.


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describes transfers between the memory controller and the memory module, and not just

transfers from the memory module to the memory controller. ’314 Patent at 22:43-45. A

POSITA would understand the “between” language, which is inherently bidirectional, as

referring to both read and write commands. Przybylski Decl., ¶ 126.

       The specification also discloses Verilog code for certain embodiments of the invention.

See, e.g., ’314 Patent, at col. 10-13, 25-29, 30-32. The Verilog code enables devices to allow

read and write data to flow between the memory device and the memory controller. Przybylski

Decl., ¶¶ 11-13. The detailed code uses the CAS latency (“cl”) variables in both the case of a

read command (i.e., a signal of the form rd_cmd_cycx is active) and write command (i.e., a

signal of the form wr_cmd_cycx is active). ’314 Patent at col. 27; Przybylski Decl., ¶¶ 129-131.

The Verilog code described in the specification therefore teaches a POSITA that CAS latency in

the context of the ’314 Patent applies to both read and write commands. Id. Micron’s proposals

exclude these disclosed embodiments and should therefore be rejected. SynQor, Inc. v. Artesyn

Techs. Inc., 709 F.3d 1365, 1378-79 (Fed. Cir. 2013) (“A claim construction that ‘excludes the

preferred embodiment is rarely, if ever, correct and would require highly persuasive evidentiary

support.’”).

       Finally, Micron again attempts to impermissibly narrow terms without demonstrating a

clear disavowal of claim scope in the intrinsic record. Instead, Micron relies exclusively on the

DDR standards to argue that the disputed CAS latency terms must exclude write operations. 9

Brief at 26. But, as an initial matter, the claims recite distinct “overall CAS latency” and “actual




9
  Other extrinsic evidence also supports Netlist’s construction. See, e.g., Przybylski Decl., ¶¶
132-133 (citing Ex. D (Jacobs Article) at 16, which confirms that technically sound alternatives
available to the JEDEC community in the early to mid-1990’s included devices that “[e]xplicitly
identify the CAS latency in the read or write command”).


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operational CAS latency" tenns. Those tenns are used by the '314 Patent, but not used by the

JEDEC standards. See, e.g., '314 Patent at 22:47-48, 22:60-61 (using "overall CAS latency" to

refer to the latency of the memo1y module/system); id. at 25:25, 25:44-27:8 (implementing

"actual operational CAS latency"); Przybylski Deel., ,i,i 127-128, 134. Thus, Micron's complete

reliance on the DDR standards in this context is inappropriate, and a POSIT A would have

interpreted the specific CAS latency te1ms in the '314 Patent claiins as including write operations

based on at least on the patent's teachings. See, e.g., '314 Patent at 22:47-61; Przybylski Deel.,

,nf 124-131.

       Fmther, the DDR2 standard-which was repeatedly referenced in the '314 Patent

specification's examples-suppo11Netlist's inte1pretation of the disputed CAS latency te1ms.

See, e.g., '314 Patent at 22:58-62, 26:7-11, 29:16-20, 31:34-40, 36:36-38; Przybylski Deel., ,i,i

134-141. For example, in the DDR2 standard, both the read latency (RL) and the write latency

(WL) depend equivalently on the CAS latency (CL). Przybylski Deel., ,i,i 134-141 (including

fmther technical explanations); Ex. B (JESD79-2A) at 24. Thus, even the standards do not

suppo11 Micron's narrow construction.

       fu short, Micron's proposed constr11ctions contr·avene the intrinsic record, are too

limiting, and should thus be rejected. The Court can adopt plain and ordinaiy meanings here. But

if the Comt detennines that express constructions would be helpful, the te1ms should be

construed as proposed by Netlist. Przybylski Deel., ,i,i 123-128.

       D.      The "Circuitry" Terms (Claims 1, 15, 25, 28)

       Plaintiffs Prooosed Construction                 Defendants' Prooosed Construction
 Plain and ordinaiy meaning, as would be            This is a means-plus-function limitation.
 understood by one of ordinaiy skill in the a.it    Function: The claimed fmictions of the
 in the context of the entire disclosure.           "circuitry" limitations ai·e identified at
 Neither indefinite nor subject to § 112, ,i 6.     Defendants' Exhibit 13.
                                                    Conesponding Stmcture: fudefinite - no


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                                                     corresponding structure.

        Again, Micron attempts to shoehorn a structural claim term into the confines of § 112,

¶ 6. But Micron’s proposals should be rejected for the following reasons.

        First, the claims treat “circuitry” as a structural limitation. See Przybylski Decl., ¶¶ 144-

145. For example, claim 1 recites that the “circuitry” is coupled (1) between the plurality of N-bit

wide ranks and the N-bit wide data bus; and (2) to the logic. The “circuitry” is further configured

to (1) enable data transfers through the circuitry; and (2) add a predetermined amount of time

delay for each data transfer. Thus, the claim language indicates that the term “circuitry” denotes

a physical structure. Inventio AG v. ThyssenKrupp Elevator Am. Corp., 649 F.3d 1350, 1358

(Fed. Cir. 2011) (“In past cases, we have concluded that a claimed ‘circuit,’ coupled with a

description of the circuit’s operation in the claims, connoted sufficiently definite structure to

skilled artisans to avoid the application of § 112, ¶ 6.”) (citing Abacus, 462 F.3d at 1355-56;

Linear Tech. Corp., 379 F.3d at 1320-21; Apex Inc. v. Raritan Comp., Inc., 325 F.3d 1364, 1374

(Fed. Cir. 2003)); see also Rodime, 174 F.3d at 1303-04 (finding reciting location and

interconnection of elements is a detailed recitation of structure).

        Second, as set forth above, the Federal Circuit has repeatedly found that “circuit” and

“circuitry” are not nonce terms invoking § 112, ¶ 6, and district courts have consistently

followed suit. See supra at III.3 (citing cases).

        Third, the ’314 Patent provides sufficient structure for “circuitry” for performing the

claimed functions. See Przybylski Decl., ¶¶ 146-150. A POSITA would understand that the

claimed circuitry is not an isolated and generic circuit, but rather a concrete circuit unit that fills

multiple critical roles within the memory module. Id. at ¶ 149. In particular, the claimed

“circuitry” must be a specific type of circuitry that is capable of (1) receiving control signals; (2)



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enabling transfers of bursts of data and strobe transfers between either of a plurality of ranks of

memory devices and a memory controller at the full specified data rate in response to the control

signals; (3) registering the data transfers, and (4) adding a predetermined time delay to each

registered data transfer through the circuitry. Id. As would be understood by a POSITA, many

different types of circuitry would not be capable of carrying out these functions, and the claimed

circuitry would include structures such as registers, tri-state buffers, and wide data paths. Id.; see

also ’314 Patent at 22:38-53 (disclosing circuitry comprising combinatorial logic, registers, and

logic pipelines). Importantly, a term is not equivalent to “means” simply because such term may

be broad and does not “call to mind a single well-defined structure.” Greenberg, 91 F.3d at 1583.

Thus, while not limited to a single embodiment, the claims recite sufficiently definite structure to

avoid the ambit of § 112, ¶ 6.

       Fourth, Micron’s reliance on Limestone, 2019 WL 6655273, at *18-19 and Koninklijke,

2015 WL 12781199, at *14 is inapposite for the reasons set forth above. See supra Section III.C.

       Finally, even if the Court determines that “circuitry” is a means-plus-function term, in

contravention of established caselaw and the intrinsic evidence here, the term should still be

construed to encompass each of the embodiments disclosed in the ’314 Patent for performing the

claimed function. See, e.g., ’314 Patent at 22:38-63 (circuitry including buffers comprising

combinatorial logic, registers, and logic pipelines); Figures 9A-B, 10A-10B, 11A-11B, Verilog

examples 1-3; see also Creo, 305 F.3d at 1346.

V.     CONCLUSION

       For the reasons set forth above, Netlist respectfully requests that the Court reject

Micron’s constructions and adopt Netlist’s constructions for the disputed claim terms.




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Dated: March 10, 2022                /s/ Rex Hwang

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 10, 2022, counsel of record who are deemed to have

consented to electronic services are being served with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5(b)(1).



                                             /s/ Rex Hwang
